  Case 3:21-cv-00261-L Document 40 Filed 10/04/22       Page 1 of 6 PageID 4223



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

THE DUGABOY INVESTMENT
TRUST and GET GOOD TRUST
     Appellants,

                    v.                       CIVIL ACTION NO. 3:21-cv-261-L

HIGHLAND CAPITAL
MANAGEMENT, L.P.,
    Appellee


In re:                                           CASE NO. 19-34054-sgj11
HIGHLAND CAPITAL
MANAGEMENT, L.P.,
       Debtor


      COME NOW, The Dugaboy Investment Trust (“Appellant”), creditor and

party in interest in the above-captioned bankruptcy case and appellant in the above-

captioned bankruptcy appeal, and, pursuant to 28 U.S.C. § 158(d), hereby appeal to

the United States Court of Appeals for the Fifth Circuit that certain Order (the

“Order”) entered by the District Court on September 26, 2022, at ECF Docket No.

38 affirming the bankruptcy court’s order.

      The names of the parties to the Order and the contact information for their

attorneys are as follows:




             {00378918-1}
     Case 3:21-cv-00261-L Document 40 Filed 10/04/22   Page 2 of 6 PageID 4224



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              {00378918-1}
     Case 3:21-cv-00261-L Document 40 Filed 10/04/22   Page 3 of 6 PageID 4225



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              {00378918-1}
     Case 3:21-cv-00261-L Document 40 Filed 10/04/22   Page 4 of 6 PageID 4226




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4.      Party-In-Interest:

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              {00378918-1}
Case 3:21-cv-00261-L Document 40 Filed 10/04/22    Page 5 of 6 PageID 4227



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   Respectfully Submitted this 4th day of October 2022.

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                                  INVESTMENT TRUST




         {00378918-1}
  Case 3:21-cv-00261-L Document 40 Filed 10/04/22         Page 6 of 6 PageID 4228



                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 4th day of October 2022, true
and correct copies of this document were electronically served by the Court’s ECF
system on parties entitled to notice thereof, including on counsel for the Appellee.

       The undersigned hereby certifies that, on this the 4th day of October 2022, true
and correct copies of this document were served via U.S. Mail, First Class, properly
addressed with pre-paid postage to the counsel for the Party-in-Interest and counsel
for the Debtor.

                                        /s/ Douglas S. Draper
                                        Douglas S. Draper




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